UNITED STATES OFFICE OF PERSONNEL MANAGEMENT

Washington, DC 20415

   

National Background
Investigations
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CERTIFICATE OF TRUE AND CORRECT COPIES

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As a custodian of records, I, Charles Watters, Executive Program Manager of the Freedom of
Information and Privacy Act office, Federal Investigative Services, Office of Personnel Management,
hereby certify that a copy of the Standard Form 86 and signed Certification submitted on August 28,
2009, by Daniel Everette Hale, consisting of 33 pages, mailed to the attention of Assistant United
States Attorney Gordon D. Kromberg, United States Department of Justice on August 6, 2019, isa
true and correct copy of the records from the Office of Personnel Management, Personnel

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Investigations records system.

 

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Dat Charles Watters

Executive Program Manager

Freedom of Information and Privacy Act office
Federal Investigative Services

U.S. Office of Personnel Management

GOVERNMENT
EXHIBIT

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UNITED STATES OFFICE OF PERSONNEL MANAGEMENT
Washington, DC 20415

   

National Background

August 6, 2019 Investigations

Bureau

U.S. Department of Justice

Attention: AUSA Gordon D. Kromberg
2100 Jamieson Avenue

Alexandria, VA 22314

Re: Hale, Daniel Everette SSN: XXX-XX-XXXX

Dear Assistant United States Attorney Kromberg:

This is in reference to your August 2, 2019, email requesting a copy of the Standard Form 86
(SF-86) from the investigative file of Mr. Daniel Everett Hale, maintained by the National
Background Investigations Bureau (NBIB). Your request indicates the document will be used
in the case of United States of America v. Daniel Everette Hale, Criminal No. 1:19-CR-59.

The enclosed material is being released under routine use “I” from the OPM Central 9
system of records (U.S.C-§552a) for background investigation records. Routine use “1”
reads as:
To disclose information to another Federal agency, to a court, or a party in litigation
before a court or in an administrative proceeding being conducted by a Federal agency,
when the Government is a party to the judicial or administrative proceeding. In those
cases where the Government is not a party to the proceeding, records may be disclosed if
a subpoena has been signed by a judge.

The enclosed records may not be re-disclosed for any other purpose unless coordination is
made with the NBIB Freedom of Information and Privacy Act office.

We are providing you a copy the requested SF86 from Mr. Hale’s investigative file. We have
redacted Mr. Hale’s personal financial account numbers, pursuant to the Right to Financial
Privacy Act of 1978. To protect Mr. Hale’s personal identifiable information (PII) we have
partially redacted his social security number, date of birth and military service number and
completely redacted his selective Service registration number and his mother’s maiden name.
We have also redacted third party (subject’s parents and siblings) PII to ensure privacy
protections to the third parties.

~ Recruit, Retain and Honor a World-Class Workforce to Serve the American People = www.nbib.opm.gov

 

 

 

 

WWW.Opm.gov

 
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AUSA Gordon D. Kromberg Z
Re: Hale, Daniel Everette

If you have any questions regarding this response, you may contact me directly at
724-794-5612, extension 5296, or email me at Nancy.Craig@nbib.gov. Please reference
tracking number 2019-17978.

Sincerely,

Nets bag

Nancy E. Craig
FOI/PA Specialist

Enclosures
